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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
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12   VICKI ESTRADA, PATRICIA               CIV. NO. 2:13-01989 WBS CKD
     GOODMAN and KIM WILLIAMS-
13   BRITT on behalf of themselves         MEMORANDUM AND ORDER RE: MOTION
     and all others similarly              FOR FINAL APPROVAL OF CLASS
14   situated,                             ACTION SETTLEMENT
15                  Plaintiffs,

16         v.
17   IYOGI, INC., a New York
     Corporation,
18

19                  Defendant.
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21
                                   ----oo0oo----
22

23               Plaintiffs brought this putative class action against

24   iYogi, Inc. (“iYogi”), alleging defendant violated the Telephone

25   Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), by employing

26   aggressive sales tactics to get customers to renew their

27   subscriptions to iYogi and placing calls to consumers regardless

28   of whether they had refused the offer or previously asked that
                                          1
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1    defendant not call.     Presently before the court is plaintiffs’

2    motion for final approval of the class action settlement and

3    motion for attorney’s fees and incentive awards for the named

4    plaintiffs.    (Docket Nos. 79, 82.)

5    I. Factual and Procedural Background

6                iYogi is a technical support company that offers remote

7    computer services to millions of individuals worldwide.

8    Consumers sign up for a year-to-year flat fee service plan.

9    Plaintiffs Vicki Estrada, Patricia Goodman, and Kim Williams-

10   Britt allege that iYogi placed numerous, aggressive telephone

11   calls to them and the other class members as their service plans

12   neared expiration and subsequent to expiration in violation of

13   three provisions of the TCPA.

14               The court granted preliminary approval of plaintiffs’

15   class action settlement on October 6, 2015.         (Docket No. 76.)

16   Plaintiffs now seek final approval of the class-wide settlement

17   pursuant to Federal Rule of Civil Procedure 23(e).          (Docket No.

18   82.)   Defendant does not oppose plaintiffs’ motion for final

19   approval or their motion for reasonable attorney’s fees,

20   expenses, and incentive awards.       (Def.’s Statement of Non-Opp’n
21   at 2 (Docket No. 83).)

22   II. Discussion

23               Rule 23(e) provides that “[t]he claims, issues, or

24   defenses of a certified class may be settled . . . only with the

25   court’s approval.”     Fed. R. Civ. P. 23(e).      “Approval under 23(e)

26   involves a two-step process in which the Court first determines
27   whether a proposed class action settlement deserves preliminary

28   approval and then, after notice is given to class members,
                                          2
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1    whether final approval is warranted.”        Nat’l Rural Telecomms.

2    Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal. 2004)

3    (citing Manual for Complex Litig., Third, § 30.41 (1995)).

4                The Ninth Circuit has declared a strong judicial policy

5    favoring settlement of class actions.        Class Plaintiffs v. City

6    of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).          Nevertheless,

7    where, as here, “the parties reach a settlement agreement prior

8    to class certification, courts must peruse the proposed

9    compromise to ratify both the propriety of the certification and

10   the fairness of the settlement.”       Staton v. Boeing Co., 327 F.3d

11   938, 952 (9th Cir. 2003).

12         A. Class Certification

13               A class action will be certified only if it meets the

14   four prerequisites identified in Rule 23(a) and additionally fits

15   within one of the three subdivisions of Rule 23(b).          See

16   Ontiveros v. Zamora, Civ. No. 2:08-567 WBS DAD, 2014 WL 3057506,

17   at *4 (E.D. Cal. July 7, 2014); Fed. R. Civ. P. 23(a)-(b).

18   Although a district court has discretion in determining whether

19   the moving party has satisfied each Rule 23 requirement, see

20   Califano v. Yamasaki, 442 U.S. 682, 701 (1979); Montgomery v.
21   Rumsfeld, 572 F.2d 250, 255 (9th Cir. 1978), the court must

22   conduct a rigorous inquiry before certifying a class, see Gen.

23   Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161 (1982); E. Tex.

24   Motor Freight Sys. v. Rodriguez, 431 U.S. 395, 403–05 (1977).

25               1. Rule 23(a) Requirements

26               Rule 23(a) restricts class actions to cases where:
27         (1) the class is so numerous that joinder of all
           members is impracticable; (2) there are questions of
28         law or fact common to the class; (3) the claims or
                                     3
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1          defenses of the representative parties are typical of
           the claims or defenses of the class; and (4) the
2          representative parties will fairly and adequately
           protect the interests of the class.
3
     Fed. R. Civ. P. 23(a).      These requirements are more commonly
4
     referred to as numerosity, commonality, typicality, and adequacy
5
     of representation.
6
                 In its Preliminary Approval Order, the court found that
7
     the class satisfied these requirements and the court is unaware
8
     of any changes that would alter its analysis.
9
                 2. Rule 23(b)
10
                 An action that meets all the prerequisites of Rule
11
     23(a) may be certified as a class action only if it also
12
     satisfies the requirements of one of the three subdivisions of
13
     Rule 23(b).     Leyva v. Medline Indus. Inc., 716 F.3d 510, 512 (9th
14
     Cir. 2013).     Plaintiffs seek certification under Rule 23(b)(3),
15
     which provides that a class action may be maintained only if (1)
16
     “the court finds that questions of law or fact common to class
17
     members predominate over questions affecting only individual
18
     members” and (2) “that a class action is superior to other
19
     available methods for fairly and efficiently adjudicating the
20
     controversy.”     Fed. R. Civ. P. 23(b)(3).
21
                 In its Preliminary Approval Order, the court found that
22
     both prerequisites were satisfied.        The court is unaware of any
23
     changes that would affect this conclusion.         Accordingly, since
24
     the settlement class satisfied both Rule 23(a) and Rule 23(b)(3),
25
     the court will grant final certification of the settlement class.
26
                 3. Rule 23(c)(2) Notice Requirements
27
                 If the court certifies a class under Rule 23(b)(3), it
28
                                          4
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1    “must direct to class members the best notice that is practicable

2    under the circumstances, including individual notice to all

3    members who can be identified through reasonable effort.”             Fed.

4    R. Civ. P. 23(c)(2)(B).      Rule 23(c)(2) governs both the form and

5    content of a proposed notice.       See Ravens v. Iftikar, 174 F.R.D.

6    651, 658 (N.D. Cal. 1997) (citing Eisen v. Carlisle & Jacquelin,

7    417 U.S. 156, 172–77 (1974)).       Although that notice must be

8    “reasonably certain to inform the absent members of the plaintiff

9    class,” actual notice is not required.        Silber v. Mabon, 18 F.3d

10   1449, 1454 (9th Cir. 1994) (citation omitted).

11               In this case, the court-appointed third-party

12   administrator, Epiq Class Action & Claims Solutions, Inc.

13   (“Epiq”), emailed notice to the last known addresses of class

14   members.    (Pls.’ Mot. for Final Approval at 5.)        The notice

15   directed class members to the settlement website, which contained

16   information related to the settlement, answers to frequently

17   asked questions, and access to online claim forms.          (Id.)

18               In addition to the initial email, which satisfied the

19   court-approved notice plan, the parties also agreed to resend the

20   notice to the 44,207 class members (out of 188,887 total) whose
21   initial emails had bounced.       (Id. at 6.)    The parties also sent

22   two reminder emails to all of the class members who had not yet

23   submitted claim forms.      (Id.)   The notice was successfully

24   delivered to 85.6% of the settlement class.         (Id.)

25               Accordingly, the court finds that the content of the

26   notice was reasonably certain to inform the class members of the
27   terms of the settlement agreement and the method used was the

28   best form of notice available under the circumstances.           See Fed.
                                          5
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1    R. Civ. P. 23(c)(2)(B); see also Churchill Vill., L.L.C. v. Gen.

2    Elec., 361 F.3d 566, 575 (9th Cir. 2004) (“Notice is satisfactory

3    if it ‘generally describes the terms of the settlement in

4    sufficient detail to alert those with adverse viewpoints to

5    investigate and to come forward and be heard.’” (citation

6    omitted)).

7          B. Rule 23(e): Fairness, Adequacy, and Reasonableness of

8              Proposed Settlement

9                Having determined class treatment to be warranted, the

10   court must now determine whether the terms of the parties’

11   settlement appear fair, adequate, and reasonable.          See Fed. R.

12   Civ. P. 23(e)(2); Hanlon, 150 F.3d at 1026.         This process

13   requires the court to “balance a number of factors,” including:

14         the strength of the plaintiff’s case; the risk,
           expense, complexity, and likely duration of further
15         litigation; the risk of maintaining class action status
           throughout the trial; the amount offered in settlement;
16         the extent of discovery completed and the stage of the
           proceedings; the experience and views of counsel; the
17         presence of a governmental participant; and the
           reaction of the class members to the proposed
18         settlement.
19   Hanlon, 150 F.3d at 1026.

20               1. Strength of Plaintiffs’ Case
21               An important consideration is the strength of

22   plaintiffs’ case on the merits balanced against the amount

23   offered in the settlement.       DIRECTV, 221 F.R.D. at 526.         The

24   district court, however, is not required to reach any ultimate

25   conclusions on the merits of the dispute, “for it is the very

26   uncertainty of outcome in litigation and avoidance of
27   wastefulness and expensive litigation that induce consensual

28   settlements.”     Officers for Justice v. Civil Serv. Comm’n of the
                                          6
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1    City & Cty. of SF, 688 F.2d 615, 625 (9th Cir. 2004).

2                The settlement terms compare favorably to the

3    uncertainties with respect to liability in this case.           If the

4    case were to proceed to trial, defendant would likely reassert

5    two strong affirmative defenses: that it is exempt from liability

6    because it has an established business relationship with

7    plaintiffs and that receiving cell phone numbers from class

8    members by virtue of its direct relationship with them

9    constitutes consent.      (Pls.’ Mot. for Final Approval at 8.)

10   Plaintiffs’ also predict that iYogi would undoubtedly challenge a

11   motion for class certification and appeal any judgment in favor

12   of the class, further delaying recovery.         (Id.)    Lastly, there is

13   no assurance the class would recover the full amount of damages

14   even if it were to prevail at trial given iYogi’s financial

15   condition and limited insurance coverage.         (Id.)

16               In comparing the strength of plaintiffs’ case with the

17   proposed settlement, the court finds that the proposed settlement

18   is a fair resolution of the issues in this case.

19               2. Risk, Expense, Complexity, and Likely Duration of

20                  Further Litigation
21               Further litigation could greatly delay resolution of

22   this case and increase expenses.         Prior to any judgment, the

23   parties would likely have had to litigate class certification and

24   summary judgment, both of which would require additional

25   discovery, time, and expense.       (Id. at 10-11.)      This weighs in

26   favor of settlement of the action.
27               3. Risk of Maintaining Class Action Status Throughout

28                  Trial
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1                If the case proceeded to trial, plaintiffs would have a

2    strong chance of certifying the class given the court’s

3    certification for the purposes of settlement and that TCPA class

4    actions are routinely certified.         (Id. at 11.)    However,

5    plaintiffs acknowledge a risk that defendant would defeat class

6    certification by arguing that the question of whether class

7    members provided consent when purchasing iYogi’s support services

8    is an individual issue not appropriate for certification.            (Id.)

9    Accordingly, this factor also favors approval of the settlement.

10               4. Amount Offered in Settlement

11               In assessing the amount offered in settlement, “[i]t is

12   the complete package taken as a whole, rather than the individual

13   component parts, that must be examined for overall fairness.”

14   Officers for Justice, 688 F.2d at 628.        “It is well-settled law

15   that a cash settlement amounting to only a fraction of the

16   potential recovery will not per se render the settlement

17   inadequate or unfair.”      Id.

18               Each class member who submitted a claim form in this

19   case will receive $40 in cash, regardless of how many claims are

20   made.   (Pls.’ Mot. for Final Approval at 12.)          The attorney’s
21   fees and costs will not be deducted from the settlement amount.

22   In addition, class members will receive prospective relief

23   because defendant has agreed to modify its terms and conditions

24   to more clearly inform its customers that by entering into the

25   agreement for its services they consent to being contacted by

26   telephone regarding the services and to more clearly inform
27   customers of their option to elect not to receive such calls.

28   (Id.)
                                          8
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1                While the TCPA provides for damages of $500 “for each

2    such violation” of the statute or, at most, $1,500 if defendant’s

3    conduct was willful, 47 U.S.C. § 227(b)(3)(B), (c)(5)(B), the

4    settlement in this case is fair given the risks and costs of

5    further litigation in this case.

6                5. Extent of Discovery and the State of Proceedings

7                A settlement that occurs in an advanced stage of the

8    proceeding indicates the parties carefully investigated the

9    claims before reaching a resolution.        Alberto v. GMRI, Inc., Civ.

10   No. 07-1895 WBS DAD, 2008 WL 4891201, at *9 (E.D. Cal. Nov. 12,

11   2008).    The parties in this case began formal discovery and also

12   conducted significant informal discovery during settlement

13   negotiations.     (Pls.’ Mot. for Final Approval at 14.)        The

14   parties also engaged in extensive mediation before a third-party

15   mediator, which included an in-person mediation session and

16   several months of additional arm’s-length negotiations with the

17   assistance of the mediator.       (Id. at 4.)    The parties’

18   investigation of the claims through formal discovery, informal

19   discovery, and mediation weigh in favor of settlement.

20               6. Experience and Views of Counsel
21               Plaintiffs’ counsel have extensive experience

22   litigating class actions, particularly those involving TCPA

23   claims.    (Balabanian Decl. ¶ 9 (Docket No. 82-2).)        In addition,

24   class counsel has been litigating this case for more than two

25   years.    (Id.)   Based on their experience, plaintiffs’ counsel

26   believe the proposed settlement is fair and adequate to the class
27   members.    (Id. ¶ 3.)    The court gives considerable weight to

28   class counsel’s opinions regarding the settlement due to
                                          9
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1     counsel’s experience and familiarity with the litigation.

2     Alberto, 2008 WL 4891201, at *10.       This factor supports approval

3     of the settlement agreement.

4                   7. Presence of Government Participant

5                   No governmental entity participated in this matter;

6     this factor, therefore, is irrelevant to the court’s analysis.

7                   8. Reaction of the Class Members to the Proposed

8                      Settlement

9                   Notice of the settlement was sent to 188,887

10    participating class members on November 3, 2015 and only four

11    class members submitted requests for exclusion prior to the

12    January 2, 2016 deadline.       (Bithell Decl. ¶ 10 (Docket No. 82-

13    1).)       Only one class member objected to the settlement.     (Pls.’

14    Mot. for Final Approval at 16; see also McCarthy Obj. (Docket No.

15    80).)1      “It is established that the absence of a large number of

16    objections to a proposed class action settlement raises a strong

17    presumption that the terms of a proposed class settlement action

18    are favorable to the class members.”       DIRECTV, 221 F.R.D. at 529.

19    Accordingly, this factor weighs in favor of the court’s approval

20    of the settlement.
21                  Having considered the foregoing factors, the court

22           1
                John Thomas McCarthy, a former iYogi subscriber,
23    objected that the settlement reward “is far too meager.”
      (McCarthy Obj.) He claims that he was subjected to iYogi’s
24    “constant telephonic harassment” and that iYogi was also unable
      to fix the computer problems he was having. (Id.) He contends
25    that class members who received unfavorable service and were
26    subjected to telephonic harassment should be refunded the full
      subscription fee plus an additional amount. (Id.) This objection
27    is of limited relevance given that it was iYogi’s telephone
      practices, not the quality of iYogi’s technical support services,
28    that were at issue in this case.
                                      10
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1     finds the settlement is fair, adequate, and reasonable pursuant

2     to Rule 23(e).

3           B. Attorney’s Fees

4                Plaintiffs’ counsel requests $300,000 in attorney’s

5     fees for 664.3 hours of work on this case.        Defendant does not

6     oppose.   (Def.’s Statement of Non-Opp’n at 2.)

7                Federal Rule of Civil Procedure 23(h) provides, “[i]n a

8     certified class action, the court may award reasonable attorney’s

9     fees and nontaxable costs that are authorized by law or by the

10    parties’ agreement.”     If a negotiated class action settlement

11    includes an award of attorney’s fees, that fee award must be

12    evaluated in the overall context of the settlement.          Knisley v.

13    Network Assocs., 312 F.3d 1123, 1126 (9th Cir. 2002); Monterrubio

14    v. Best Buy Stores, L.P., 291 F.R.D. 443, 455 (E.D. Cal. 2013)

15    (England, J.).     The court “ha[s] an independent obligation to

16    ensure that the award, like the settlement itself, is reasonable,

17    even if the parties have already agreed to an amount.”          In re

18    Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 941 (9th

19    Cir. 2011).

20               The Ninth Circuit recognizes two methods of assigning
21    attorney’s fees: the lodestar method and the percentage of

22    recovery method.     Vizcaino v. Microsoft Corp., 290 F.3d 1043,

23    1047 (9th Cir. 2002).      While the percentage of recovery method is

24    favored in common fund cases, here, where attorney’s fees do not

25    detract from a common settlement fund, the lodestar method is

26    more appropriate.     As a result, the court will apply the lodestar
27    method and incorporate a percentage of the fund cross-check.

28               1. Lodestar Method
                                          11
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1                “The lodestar figure is calculated by multiplying the

2     number of hours the prevailing party reasonably expended on the

3     litigation (as supported by adequate documentation) by a

4     reasonable hourly rate for the region and for the experience of

5     the lawyer.”    Bluetooth, 654 F.3d at 941.      While the lodestar

6     figure is presumptively reasonable, the court may adjust it

7     upward or downward by an appropriate multiplier based on a number

8     of reasonableness factors.      Id. at 941-42.

9                In determining the size of an appropriate fee award,

10    the Supreme Court has emphasized that courts need not “achieve

11    auditing perfection” or “become green-eyeshade accountants.”             Fox

12    v. Vice, 131 S.Ct. 2205, 2217 (2011).        Rather, because the

13    “essential goal of shifting fees . . . is to do rough justice,”

14    the court may “use estimates” or “take into account [its] overall

15    sense of a suit” to determine a reasonable attorney’s fee.             Id.

16                   a. Reasonable Hours

17               In determining reasonable hours, counsel bears the

18    burden of submitting detailed time records justifying the hours

19    claimed.   Chalmers v. City of Los Angeles, 796 F.2d 1205, 1210

20    (9th Cir. 1986).     The court may reduce the hours “where
21    documentation is inadequate; if the case was overstaffed and

22    hours are duplicated; if the hours expended are deemed excessive

23    or otherwise unnecessary.”      Id.

24               Plaintiffs’ counsel represent that they worked a total

25    of 664.3 hours on this case over a two-year time period.             (Pls.’

26    Mot. for Att’y’s Fees at 8.)      Jay Edelson, managing partner,
27    represents to have worked 12.8 hours; Rafey S. Balabanian,

28    managing partner in San Francisco, 108.5 hours; Benjamin H.
                                            12
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1     Richman, partner, 135.4 hours; Courtney C. Booth, associate, 212

2     hours; law clerks, 55.3 hours; and Stefan L. Coleman, partner at

3     the Law Offices of Stefan L. Coleman, 140.3 hours.          (Id. at 10.)

4     This included formal mediation, a year of arm’s-length

5     negotiations, and complex legal issues against competent defense

6     counsel.   (Id. at 8.)    The information provided by plaintiffs’

7     counsel is sufficient to conclude that the 664.3 hours claimed

8     are reasonable and not excessive.

9                   b. Reasonable Rate

10               Plaintiffs’ counsel seeks a rate of $400 per hour for

11    partners, $200 for associates, and $100 for law clerks.          (Id. at

12    9-10.)   A reasonable rate is typically based upon the prevailing

13    market rate in the community “for similar work performed by

14    attorneys of comparable skill, experience, and reputation.”

15    Chalmers, 796 F.2d at 1211.      The relevant community is generally

16    the forum in which the district sits.        Barjon v. Dalton, 132 F.3d

17    496, 500 (9th Cir. 1997).      Plaintiffs’ counsel argue the

18    requested hourly rates correlate with reasonable rates in the

19    Sacramento market and are significantly lower than the rates

20    Edelson PC attorneys regularly charge to their hourly clients.
21    (Pls.’ Mot. for Att’y’s Fees at 10.)

22               Courts in the Eastern District of California have

23    regularly approved hourly rates of $400 or more for partners or

24    experienced attorneys, $150-175 for associates, and $100 for law

25    clerks in similarly complex cases.       See, e.g., Monterrubio v.

26    Best Buy Stores, L.P., 291 F.R.D. 443, 460-61 (E.D. Cal. 2013)
27    (England, J.) (applying the “prevailing hourly rates in the

28    Eastern District of California” of $400 for partners, $150 for
                                          13
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1     associates, and $100 for law clerks in a wage and hour class

2     action); Ontiveros v. Zamora, 303 F.R.D. 356, 374 (E.D. Cal.

3     2014) (finding that the reasonable hourly rate in the Eastern

4     District is $400 for experienced attorneys and $175 for

5     associates in a wage and hour class action); Trulsson v. Cnty. Of

6     San Joaquin Dist. Att’y’s Office, Civ. No. 2:11-02986 KJM DAD,

7     2014 WL 5472787, at *6 (E.D. Cal. Oct. 28, 2014) (approving an

8     hourly rate of $450 for an experienced attorney in a civil rights

9     case).   Moreover, plaintiffs’ counsel explains that the partners

10    involved in this case have as much as nineteen years of

11    experience as litigators and that the law firm of Edelson PC has

12    particularized experience in complex consumer class actions under

13    the TCPA.     (Pls.’ Mot. for Att’y’s Fees at 11, Ex. 1-A.)          In

14    light of the prevailing rates in the Eastern District in

15    comparably complex cases and the experience of the attorneys, the

16    court finds plaintiffs’ proposed hourly rates of $400 for

17    partners, $200 for associates, and $100 for law clerks

18    reasonable.

19                Accordingly, the lodestar figure in this case is

20    $206,730.00, calculated as follows:
21                Edelson:         12.8     x   $400    =    $ 5,120.00

22                Balabanian:      108.5    x   $400    =    $ 43,400.00

23                Richman:         135.4    x   $400    =    $ 54,160.00

24                Booth:           212      x   $200    =    $ 42,400.00

25                Law Clerks:      55.3     x   $100    =    $ 5,530.00

26                Coleman:         140.3    x   $400    =    $ 56,120.00
27                                                          $ 206,730.00

28                   c. Enhancement of Lodestar
                                           14
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1                In addition to the lodestar figure, plaintiffs’ counsel

2     requests a multiplier of 1.45.       In determining whether or not a

3     multiplier is appropriate, the court considers a number of

4     reasonableness factors including “the quality of representation,

5     the benefit obtained for the class, the complexity and novelty of

6     the issues presented, and the risk of nonpayment.”          Bluetooth,

7     654 F.3d at 942 (citation omitted); see also Kerr v. Screen Guild

8     Extras, Inc., 526 F.2d 67, 70 (9th Cir. 1975) (enumerating

9     factors on which courts may rely in adjusting the lodestar

10    figure).   The most important factor is the benefit obtained for

11    the class.    Id.   Given the risks inherent to this case and the

12    possibility that plaintiffs would not have recovered anything, as

13    discussed above, the court finds that a 1.45 multiplier is

14    appropriate in this class action case.        Accordingly, the court

15    finds that a fee award of $300,000 is reasonable and appropriate

16    in this case.

17               2. Percentage of Recovery Cross-Check

18               Under the percentage of recovery method, the court may

19    award class counsel a percentage of the common fund recovered for

20    the class.    Vizcaino, 290 F.3d at 1047.      The Ninth Circuit has
21    approved a benchmark percentage of 25% for a reasonable fee award

22    and courts may adjust this figure upwards or downwards if the

23    record shows “special circumstances justifying a departure.”

24    Bluetooth, 654 F.3d at 942 (citation omitted).         Where there is a

25    claims-made settlement, such as here, the percentage of the fund

26    approach in the Ninth Circuit is based on the total money
27    available to class members, not just the money actually claimed.

28    Williams v. MGM-Pathe Commc’ns Co., 129 F.3d 1026, 1027 (9th Cir.
                                          15
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1     1997) (“We conclude that the district court abused its discretion

2     by basing the fee on the class members’ claims against the fund

3     rather than on a percentage of the entire fund or on the

4     lodestar.”); Six (6) Mexican Workers v. Ariz. Citrus Growers, 904

5     F.2d 1301, 1311 (9th Cir. 1990) ([A]ttorneys’ fees sought under a

6     common fund theory should be assessed against every class

7     members’ share, not just the claiming members.”).

8                The total money available to class members in this case

9     is $7,555,480.00.     This is because there are 188,887 class

10    members who could have each made a claim for $40.00.          Applying

11    the 25% benchmark, the percentage of recovery method would

12    justify a fee award of $1,888,870.00.        Accordingly, the

13    percentage of the recovery cross-check confirms that a fee award

14    of $300,000 is reasonable.

15          D. Incentive Payments to Named Plaintiffs

16               The court may award “reasonable incentive payments” to

17    named plaintiffs “to compensate class representatives for work

18    done on behalf of the class, to make up for financial or

19    reputational risk undertaken in bringing the action, and,

20    sometimes, to recognize their willingness to act as a private
21    attorney general.”     Davis v. Brown Shoe Co., Inc., Civ. No. 1:13-

22    01211 LJO BAM, 2015 WL 6697929, at *11 (E.D. Cal. Nov. 3, 2015).

23    In assessing the reasonableness of incentive payments, the court

24    should consider “the actions the plaintiff has taken to protect

25    the interests of the class, the degree to which the class has

26    benefitted from those actions” and “the amount of time and effort
27    the plaintiff expended in pursuing the litigation.”          Staton, 327

28    F.3d at 977 (citation omitted).       In the Ninth Circuit, an
                                          16
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1     incentive award of $5,000.00 is presumptively reasonable.            Davis,

2     2015 WL 6697929, at * 11.

3                 The three class representatives in this case seek

4     incentive payments of $1,000.00 each, for a total of $3,000.00.

5     (Pls.’ Mot. for Att’y’s Fees at 18 (Docket No. 79).)          An award

6     amount of $1,000.00 per representative is significantly lower

7     than the $5,000.00 awards found to be presumptively reasonable in

8     the Ninth Circuit.     The award also seems to fairly compensate the

9     class representatives for the time and resources they committed

10    to pursuing this case and representing the class.         Their

11    contributions included assisting in the investigation of their

12    claims, providing information for discovery, reviewing drafts and

13    discovery documents, and participating in conference calls with

14    class counsel.    (Balabanian Decl. ¶ 33.)      The court therefore

15    finds that the incentive payments are reasonable.

16    III. Conclusion

17                Based on the foregoing, the court grants final

18    certification of the settlement class and approves the settlement

19    set forth in the settlement agreement as fair, reasonable, and

20    adequate.    Consummation of the settlement agreement is therefore
21    approved.    The settlement agreement shall be binding upon all

22    participating class members who did not exclude themselves.

23                IT IS THEREFORE ORDERED that plaintiffs’ motions for

24    final approval of the class and class action settlement and for

25    reasonable attorney’s fees, expenses, and incentive awards be,

26    and the same hereby are, GRANTED.
27                IT IS FURTHER ORDERED THAT:

28       (1)   solely for the purpose of this settlement, and pursuant
                                          17
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1              to Federal Rule of Civil Procedure 23, the court hereby

2              certifies the following class: All individuals who are

3              iYogi subscribers or former subscribers in the United

4              States to whom iYogi or any agent or affiliate of iYogi

5              made or attempted to make outbound calls (including but

6              not limited to subscription renewal calls) to a telephone

7              number assigned to cellular telephone service from

8              September 23, 2009 until November 18, 2013.

9              Specifically, the court finds that:

10             (a)   the settlement class members are so numerous that

11                   joinder of all settlement class members would be

12                   impracticable;

13             (b)   there are questions of law and fact common to the

14                   settlement class which predominate over any

15                   individual questions;

16             (c)   claims of the named plaintiffs are typical of the

17                   claims of the settlement class;

18             (d)   the named plaintiffs and plaintiffs’ counsel have

19                   fairly and adequately represented and protected the

20                   interests of the settlement class; and
21             (e)   a class action is superior to other available

22                   methods for the fair and efficient adjudication of

23                   the controversy.

24       (2)   the court appoints the named plaintiffs, Vicki Estrada,

25             Patricia Goodman, and Kim Williams-Britt, as

26             representatives of the class and finds that they meet the
27             requirements of Rule 23;

28       (3)   the court appoints Jay Edelson, Rafey S. Balabanian,
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1              Benjamin H. Richman, and Courtney C. Booth, Edelson PC,

2              329 Bryant Street, San Francisco, California, 94107, as

3              counsel to the settlement class and finds that counsel

4              meet the requirements of Rule 23;

5        (4)   the settlement agreement’s plan for class notice is the

6              best notice practicable under the circumstances and

7              satisfies the requirements of due process and Rule 23.

8              The plan is approved and adopted.       The notice to the

9              class complies with Rule 23(c)(2) and Rule 23(e) and is

10             approved and adopted;

11       (5)   having found that the parties and their counsel took

12             appropriate efforts to locate and inform all putative

13             class members of the settlement, and given that only one

14             class member filed an objection to the settlement, the

15             court finds and orders that no additional notice to the

16             class is necessary;

17       (6)   as of the date of the entry of this Order, the plaintiffs

18             and all class members who have not timely opted out

19             hereby do and shall be deemed to have released the

20             released parties of any and all claims that the class
21             members had or have that have been or could have been

22             asserted in this action or in any other action or

23             proceeding (as defined by paragraph 1.28 of the

24             settlement agreement);

25       (7)   plaintiffs’ counsel is entitled to fees and costs in the

26             amount of $300,000;
27       (8)   the named plaintiffs are entitled to incentive payments

28             of $1,000 each; and
                                          19
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1        (9)   this action is dismissed with prejudice; however, without

2              affecting the finality of this Order, the court shall

3              retain continuing jurisdiction over the interpretation,

4              implementation, and enforcement of the settlement

5              agreement with respect to all parties to this action and

6              their counsel of record.

7     The clerk is instructed to enter judgment accordingly.

8     Dated:   January 26, 2016

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